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                         Exhibit 2
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                                                                   Metro preparing       Doors WMATA
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                Washington Metropolitan Area Transit Authority

    Metro
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    For immediate releasez October 18, 2023


    Doors opening... fasterl Metro preparing for
    Auto Doors




                                                                               This week, customers may notice
    doors opening faster on some Red Line trains when they stop at stations. On Wednesday, Metro
                                who have been trained to use Metrois Auto Doors function.
    will begin certifying operators


    The feature enables doors to open automatically when the train stops at the platform. Not only is it
    safer and more reliable, but it also eliminates the delay of operators manually opening the doors.

    Currently, operators are required to open and close train doors manually. Theyire instructed to stick
    their head out the window, take a few seconds to verify they are opening the doors on the correct
    side of the train, and then press a button to open the doors. The process can take up to 15
    seconds and happens more than 20,000 times a day across the system.

    With Auto Doors, signals at the platform tell the train which side to open automatically when it
    arrives at each station platform. Operators will still put their head out of the window to make sure
    everyone has exited or boarded safely before manually closing the doors.

    nUsing Auto Doors eliminates human error from the process of operating ourtrain doors, meaning
    a safer, smoother tripfi Brian Dwyer Chief Operations Officer said. uAnyone who uses Metrorail has
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    experienced the wait, standing at the door wondering when the doors will open. Our customers tell
    us they want Auto Doors back and this change will improve customer experience an d sa f e t y.
                                                          .      .   .                .           ..




    Metro has been testing Auto Doors during off-hours for months and the system performed without
                    A                                 A                  0

                                                                              W
    any safety issues more than 2,500 times. Metro worked closely with the as hiing t on Metrorail
    Safety Commission to move fon/vard with this step in its automation program. We thank them for
    their work.




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